                          UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF IOWA



UNITED STATES OF AMERICA,                         No. CR 18-31
       Plaintiff,
       vs.                                        NOTICE OF INTENT TO PLEAD GUILTY
GREG STEPHEN,
       Defendant.


       COMES NOW Defendant through counsel and provides notice of his intent to

enter a conditional plea of guilty to all of the counts listed in the seven-count Indictment.


       Defendant will consent to having a magistrate judge preside over the hearing,

assuming that the District Court Judge assigns the Magistrate to take the plea, and

submit a written consent to the Clerk.


       A revised plea agreement is being prepared that will be executed by Defendant

and his counsel and then sent to the prosecutor for his/her signature.


       Respectfully submitted,




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       CO-COUNSEL FOR DEFENDANT




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                                CERTIFICATE OF SERVICE
A copy of this document was served by: mail, facsimile,  hand-delivery  e-mail
 electronic filing on this 10/9/2018 upon all counsel of record in this case.




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